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                            UNITED STATES DISTRICT COURT
                        FOR THE WESTERN DISTRICT OF MICHIGAN
                                 SOUTHERN DIVISION
                                  __________________

DANIEL WILLIAM RUDD,

                Plaintiff,                            Case No. 1:18-CV-124

v.                                                    HON. GORDON J. QUIST

CITY OF NORTON SHORES, et al.,

            Defendants.
_________________________________/

              STIPULATED ORDER ADDING JON GALE AS DEFENDANT

     This matter comes before the court because of Plaintiff’s clerical error and an agreement to

remedy the error by stipulated order. The Court is fully advised.

     IT IS HEREBY ORDERED:

     1. The clerk shall add Jon Gale as a defendant in the electronic filing/docketing system;
     2. Attorney Michael Bogren shall be identified as counsel for Jon Gale;
     3. The responsive pleading and affirmative defenses, filed by Attorney Bogren on 3/5/18
        (ECF No. 9), shall be deemed an answer which was timely filed on behalf of Jon Gale.
     4. Plaintiff will provide the clerk with a corrected version of the first page of his complaint
        (ECF No. 1 at PageID.1.) listing Jon Gale as a Defendant in the caption.
     5. The parties will list Jon Gale as a Defendant in the caption of future filings.


        April 20, 2018
Dated: ______________                                     /s/ Gordon J. Quist
                                                      Honorable Gordon J. Quist
                                                      United States District Judge
